PROB-n Case 2:99-Cr-20013-BBD Document 155 Filed 08/16/05 Pagelof4 Page|D 94

 

(Rev. 3/88)
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U.s.A. vs. ALnoTFUs erLrAMs booker No. 2=99CR20013-002

Petition on Probation and Supervised Release
COMES NOW FREDDIE MCMASTER II PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Aldotfus Williams who was placed on supervision by the
Honorable Julia S. Gibbons sitting in the Court at Memphis, TN on the llth day of Febru_ag, 2000 who fixed the
period of supervision at live (5) years*, and imposed the general terms and conditions theretofore adopted by the
court and also imposed special conditions and terms as follows:

The defendant shall participate in substance abuse treatment/testing as deemed appropriate by the probation ofiice.

*Term of Supervised Release began September 3, 2004.

RESPECTFULLY PRESEN’I`ING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITION OF SUPERVISED RELEASE:

The defendant shall refrain from any unlawful use of a controlled substance and the defendant shall not
possess a controlled substancc.

Despite having successfully completed drug treatment with Dr. Janet Scott and Associates on March 21, 2005, Mr.
Williarns has used controlled substances as evidenced by positive screens for marijuana on April 13, May 18, June
20, and July 25, 2005.

PRAY]NG THAT THE COURT WILL ORDER a SUMMONS be issued for Mr. Wiliiarns to appear before the
Honorable Bernice B. Donald to answer charges of violation of Supervised Release.

ORDER OF COURT I declare under penalty of perjury that the foregoing
is true and correct
Considered and ordered this /é }L`day

of%a;, 202}:` and ordered filed and Executed on fla ’“J 8 aQH§
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U.S. Probation OHicer

Place Memphis, Tennessee

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ease 2:99-@r-20013-BBDVH9LWH@§,]55W51QKQ§quS PaQ€ 2 01c 4 PaQ€lD 95
1. Defendant Aldotfus Williams 736 E. Georgia Memphis. TN 38126

 

 

 

 

 

2. Docket Number (Year-Sequence-Defendant No.) 2:99CR20013-002
3.' Disn'ict/Ofiice Western District of Tennessee §Memphis)
4. Original Sentence Date 2 ll 00
month day year

([fdrj]@rent than above).'
5 . Original District/Ofi`ice

 

6. Original Docket Number (Year-Sequence-Defendant No.)

 

7. List each violation and determine the applicable grade {§_e_:_e_ §7Bl.l }:

 

 

 

 

 

violation{s} crane
Usage of a controlled substance (marijuana) B
8. Most Serious Grade of Violation (B §7Bl .l(b) B
9. Criminal History Category (B §7Bl.4(a))74 IV

 

lO. Range of imprisonment (M §7B I .4(a)) 12-18 months* ll

*Being originally convicted of a Class A felony, the statutory maximum term of imprisonment is 60 months; 18 U.S.C. §3583(¢)(3).

1 1. Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{ } (a)If the minimum term of imprisonment determined under §7Bl.4('I`erm of Imprisonment) is at least one month
but not more than six months, §7Bl .3(c) (l) provides sentencing options to imprisonment

{ } (b)If the minimum term of imprisonment determined under §7B1.4(Term of bnprisom'nent) is more than six
months but not more than ten months, §7Bl .3(c) (2) provides sentencing options to imprisonment

{X} (c)If the minimum term of imprisonment determined under §7Bl.4{Term of Imprisonment) is more than ten
months, no sentencing options to imprisonment are available

Mail documents to: United States sentencing Comm'msion, 1331 Pennsylvania Avelue, N.W.
Suite 1400, Washington, D.C., 20004, Atteution.' Monitoring Uuit

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12. Unsatisfred Conditious of Origiual Scutence

List any restitution, iine, community continement, home detention, or intermittent confinement previously imposed in connection with the
sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {_sg §7B l .3(d)}:

 

 

 

 

Restitution ($) N/A Community Confinement N/A
F inc ($) N/A Home Detention N/A
Other N/A Intermittent Continement N/A

 

 

13. Supervised Release

If probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§SDI .1-1.3{§9§

§§751.3(g)(1)}.

Term: N/A to N/A years
If supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {E 18 U.S.C. §3583(e) and §7Bl.3(g)(2}}.
Pen`od of supervised release to be served following release from imprisonment
14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

15. Oft'lcial Detention Adj ustment w §7B1.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Penlsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Molitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 155 in
case 2:99-CR-200]3 Was distributed by faX, rnail, or direct printing on
August 17, 2005 to the parties listed.

 

 

Tiniothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

